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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS


                                    §
In Re: SANDRA F WASHINGTON          §      Case No.: 08-24389
                                    §
                                    §
                                    §
       Debtor(s)                    §
----------------------------------------------------------------------

               CHAPTER 13 STANDING TRUSTEE FINAL REPORT AND ACCOUNT

Tom Vaughn, Chapter 13 Trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The trustee declares as
follows:

       1)     The case was filed on 09/15/2008.

       2)     The case was confirmed on 12/01/2008.

       3)     The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA.

       4)     The trustee filed action to remedy default by the debtor in performance under the plan on
NA.

       5)     The case was dismissed on 03/09/2009.

       6)     Number of months from filing to the last payment: 5

       7)     Number of months case was pending: 10

       8)     Total value of assets abandoned by court order: NA

       9)     Total value of assets exempted: $     9,275.00

       10)    Amount of unsecured claims discharged without payment $            .00

       11)    All checks distributed by the trustee to this case have cleared the bank.




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| Receipts:
  _________                                                                                     |
|           Total paid by or on behalf of the debtor                $
                                                                    _______________
                                                                          2,284.59              |
|           Less amount refunded to debtor                          $
                                                                    _______________
                                                                            415.38              |
| NET RECEIPTS                                                             $
                                                                           _______________
                                                                                1,869.21        |
·=========================================================================                      ·

·=========================================================================                      ·
| ___________________________
  Expenses of Administration:                                                                   |
|                                                                                               |
|           Attorney's Fees Paid through the Plan  $
                                                   ______________
                                                        1,584.62                                |
|           Court Costs                            $
                                                   ______________
                                                             .00                                |
|           Trustee Expenses and Compensation      $
                                                   ______________
                                                          134.59                                |
|           Other                                  $
                                                   ______________
                                                             .00                                |
|                                                                                               |
| TOTAL EXPENSES OF ADMINISTRATION                       $
                                                         ______________
                                                              1,719.21                          |
|                                                                                               |
| Attorney fees paid and disclosed by debtor       $
                                                   ______________
                                                           76.00                                |
·=========================================================================                      ·

·=========================================================================                      ·
| ____________________
   Scheduled Creditors:                                                                         |
|                                                                                               |
| Creditor                       Claim        Claim      Claim       Principal       Int.       |
| ___________
     Name             _____
                      Class     _________
                                Scheduled  _________
                                            Asserted    _________
                                                         Allowed      ________
                                                                       Paid        ______
                                                                                    Paid        |
|                                                                                               |
|CONSUMER PORTFOLIO S SECURED     7,450.00   10,591.00    10,591.00       150.00          .00   |
|CONSUMER PORTFOLIO S UNSECURED   3,141.00           NA           NA           .00        .00   |
|ALLIANCE ONE         UNSECURED      81.00           NA           NA           .00        .00   |
|ASSET ACCEPTANCE     UNSECURED     135.00       630.61       630.61           .00        .00   |
|FIRST PREMIER        UNSECURED     654.00           NA           NA           .00        .00   |
|FIRST PREMIER        UNSECURED     638.00           NA           NA           .00        .00   |
|ARROW FINANCIAL SERV UNSECURED     556.00       485.73       485.73           .00        .00   |
|ASSET ACCEPTANCE     UNSECURED     630.00    1,307.96      1,307.96           .00        .00   |
|CAVALRY PORTFOLIO SE UNSECURED     812.00       812.07       812.07           .00        .00   |
|MCI                  UNSECURED   1,107.00           NA           NA           .00        .00   |
|LVNV FUNDING         UNSECURED     245.00       275.48       275.48           .00        .00   |
|AMERITECH            UNSECURED     631.00           NA           NA           .00        .00   |
|AT&T BROADBAND       UNSECURED     128.00           NA           NA           .00        .00   |
|AT&T/SBC/ILLINOIS FA UNSECURED     461.00           NA           NA           .00        .00   |
|PREMIER BANKCARD     UNSECURED     438.00       438.04       438.04           .00        .00   |
|FIRST PREMIER BANK UNSECURED       413.00           NA           NA           .00        .00   |
|MCI                  UNSECURED     345.00           NA           NA           .00        .00   |
|PRA RECEIVABLES MANA UNSECURED   2,349.00    2,176.17      2,176.17           .00        .00   |
|PROVIDIAN BANK       UNSECURED   2,296.00    2,671.28      2,671.28           .00        .00   |
|COMMONWEALTH EDISON UNSECURED    6,714.00           NA           NA           .00        .00   |
|TRAVELERS BK         UNSECURED   3,094.00           NA           NA           .00        .00   |
|CHICAGO CENTRAL EMER UNSECURED     187.00           NA           NA           .00        .00   |
|LIONEL SPIRES        OTHER             NA           NA           NA           .00        .00   |
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| ____________________
   Scheduled Creditors:                                                                         |
|                                                                                               |
| Creditor                       Claim        Claim      Claim       Principal       Int.       |
| ___________
    Name              _____
                      Class     _________
                                Scheduled  _________
                                            Asserted    _________
                                                         Allowed      ________
                                                                       Paid        ______
                                                                                    Paid        |
|                                                                                               |
|TAMARA HOLLOWAY      UNSECURED   1,205.00           NA           NA           .00        .00   |
|ARROW FINANCIAL SERV UNSECURED         NA       941.68       941.68           .00        .00   |
|NATIONAL CAPITAL MAN UNSECURED         NA       552.39       552.39           .00        .00   |
|ROUNDUP FUNDING LLC UNSECURED          NA       715.90       715.90           .00        .00   |
|ASSET ACCEPTANCE     UNSECURED         NA       663.51       663.51           .00        .00   |
|ASSET ACCEPTANCE LLC UNSECURED         NA       259.20       259.20           .00        .00   |
|PRA RECEIVABLES MANA UNSECURED         NA    2,381.71      2,381.71           .00        .00   |
|PRA RECEIVABLES MANA UNSECURED         NA    3,158.68      3,158.68           .00        .00   |
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| ______________________________________
  Summary of Disbursements to Creditors:                                                                         |
|                                                                                                                |
|                                                        Claim          Principal        Int.                    |
|                                                        _______
                                                         Allowed        ________
                                                                         Paid            ____
                                                                                         Paid                    |
| Secured Payments:                                                                                              |
|        Mortgage Ongoing                                       .00             .00         .00                  |
|        Mortgage Arrearage                                     .00             .00         .00                  |
|        Debt Secured by Vehicle                          10,591.00          150.00         .00                  |
|        All Other Secured                              ___________
                                                                .00 ___________ .00 __________
                                                                                            .00                  |
| TOTAL SECURED:                                          10,591.00          150.00         .00                  |
|                                                                                                                |
| Priority Unsecured Payments:                                                                                   |
|        Domestic Support Arrearage                             .00             .00         .00                  |
|        Domestic Support Ongoing                               .00             .00         .00                  |
|        All Other Priority                             ___________
                                                                .00 ___________ .00 __________
                                                                                            .00                  |
| TOTAL PRIORITY:                                               .00             .00         .00                  |
|                                                                                                                |
| GENERAL UNSECURED PAYMENTS:                             17,470.41             .00         .00                  |
·=========================================================================                                       ·

·=========================================================================                                       ·
| Disbursements:
  ______________                                                                                                 |
|                                                                                                                |
|        Expenses of Administration     $   1,719.21                                                             |
|        Disbursements to Creditors     $     150.00                                                             |
|                                                                                                                |
| TOTAL DISBURSEMENTS:                                 $    1,869.21                                             |
·=========================================================================                                       ·

        12)     The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.


Dated:       ______________
             07/20/2009                                             ________________________________________
                                                                    /s/ Tom Vaughn
                                                                    Tom Vaughn, Chapter 13 Trustee

STATEMENT       : This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R § 1320. 4(a)(2) applies.




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